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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                      Chapter 11

             Big Village Holding LLC, et al.,1                           Case No. 23-10174 (CTG)

                                                 Debtors.                (Jointly Administered)

                                                                         Ref. Docket No. 14 & 129



                           CERTIFICATION OF COUNSEL REGARDING ORDER (I)
                            APPROVING APA, (II) AUTHORIZING THE SALE OF
                       CERTAIN OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
                      ENCUMBRANCES OTHER ASSUMED LIABILITIES AND PERMITTED
                          ENCUMBRANCES, (III) AUTHORIZING THE ASSUMPTION
                       AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
                        UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF

                             On February 8, 2023, the above-captioned debtors and debtors in possession

         (the “Debtors”) filed the Debtors' Motion for Entry of (A) an Order (I) Scheduling a Hearing on

         the Approval of the Sale of All or Substantially All of the Debtors' Assets Free and Clear of All

         Encumbrances Other than Assumed Liabilities and Permitted Encumbrances, and the Assumption

         and Assignment of Certain Executory Contracts and Unexpired Leases, (II) Approving Certain

         Bid Procedures, Bid Protections, and Assumption and Assignment Procedures, and the Form and

         Manner of Notice Thereof, and (III) Granting Related Relief; and (B) an Order (I) Approving Asset

         Purchase Agreements, (II) Authorizing the Sales of All or Substantially All of the Debtors' Assets

         Free and Clear of All Encumbrances Other than Assumed Liabilities and Permitted



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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Big Village Holding LLC (6595); Big Village Group Holdings LLC (5882); Big Village Group,
               Inc. (6621); Big Village Insights, Inc. (8960); Big Village Media LLC (7288); EMX Digital, Inc. (5543); Big
               Village USA Corporation, Inc. (3414); Big Village Agency, LLC (0767); Balihoo, Inc. (9666); Deep Focus, Inc.
               (8234); Trailer Park Holdings Inc. (1447). The Debtors’ service address is 301 Carnegie Center, Suite 301,
               Princeton, NJ 80540.

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         Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory Contracts

         and Unexpired Leases, and (IV) Granting Related Relief (the “Motion”) [D.I. 14].

                        On March 13, 2023, the United States Bankruptcy Court for the District of

         Delaware (the “Court”) entered the Order (A) Scheduling a Hearing on the Approval of the Sale

         of All or Substantially All of the Debtors' Assets Free and Clear of All Encumbrances Other Than

         Assumed Liabilities and Permitted Encumbrances, and the Assumption and Assignment of Certain

         Executory Contracts and Unexpired Leases, (B) Approving Certain Bid Procedures, Bid

         Protections, and Assumption and Assignment Procedures, and the Form and Manner of Notice

         Thereof, and (C) Granting Related Relief (the “Bid Procedures Order”) [Docket No. 129) which

         scheduled a hearing on April 6, 2023 to consider the proposed sale of assets (the “Hearing”).

                        In accordance with the record at the Hearing, the Debtors’ hereby attach as Exhibit

         A hereto a proposed from approving the sale of the Balihoo assets (the “Proposed Order”).

                        The Debtors submit that the Proposed Order is appropriate and consistent with the

         relief requested in the Motion and the record at the Hearing, and that the U.S. Trustee, the

         Prepetition Agent, and the Committee do not object to entry of the Proposed Order. Accordingly,

         the Debtors respectfully request that the Court enter the Proposed Order at its earliest convenience

         without further notice or hearing.




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         Dated: April 6, 2023            YOUNG CONAWAY STARGATT & TAYLOR, LLP
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